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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    ATTORNEY FOR DEFENDANT
     RASHAWN JACKSON
6
7                          IN THE UNITED STATES DISTRICT COURT
8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,         )      2:06-cr-00476-MCE
10                                     )
                        Plaintiff,     )      SUBSTITUTION OF ATTORNEY;
11                                     )      ORDER
          V.                           )
12                                     )
     RASHAWN JACKSON,                  )
13                                     )
                        Defendant.     )
14                                     )
                                       )
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16
          It is respectfully requested that OLAF HEDBERG, esq., be relieved
17
     as attorney of record in the above captioned case and that RACHELLE
18
     BARBOUR, Assistant Federal Defender, Office of the Federal Defender,
19
     801 I Street, 3rd Floor, Sacramento, CA 95814, telephone number (916)
20
     498-5700, email Rachelle_Barbour@fd.org, be substituted back in as
21
     appointed counsel.
22
23
                                           Respectfully submitted,
24
                                           DANIEL J. BRODERICK
25                                         Federal Defender
26
                May 3, 2007                /s/ Rachelle Barbour
27   DATED:                                ______________________________
                                           RACHELLE BARBOUR
28                                         Assistant Federal Defender
              Case 2:06-cr-00476-MCE Document 29 Filed 05/08/07 Page 2 of 2


1
2        I consent to the substitution.
3
4    DATED:     May   3, 2007             /s/ Rashawn Jackson
5                                        RASHAWN JACKSON
                                         Defendant
6
7
8    DATED:     May 3 , 2007              /s/ Olaf Hedberg
                                         OLAF HEDBERG
9                                        Attorney at Law
10
11
                                          O R D E R
12
                  IT IS SO ORDERED.
13
14   Dated: May 8, 2007

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                                             _____________________________
16                                           MORRISON C. ENGLAND, JR.
17                                           UNITED STATES DISTRICT JUDGE

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